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                              Curriculum Vitae
                               Andrew D. Martin
                                Updated: December 29, 2009


1   Address

School of Law
Washington University
Campus Box 1120
One Brookings Drive
St. Louis, MO 63130

(314) 935-5863 (Office)
(314) 935-3638 (Fax)

Office: Seigle 212A

Email: admartin@wustl.edu
Web: http://adm.wustl.edu

2   Current Academic Appointments

Professor and Chair, Department of Political Science, Arts & Sciences, Washington Univer-
sity, 2007-present.
Professor, Washington University School of Law, 2006-present.
Founding Director, Center for Empirical Research in the Law (CERL), 2006-present.
Resident Fellow, Center in Political Economy, Washington University, 2000-present.

3   Previous Academic Appointments

Professor, Department of Political Science, Washington University, 2006-2007.
Associate Professor, Department of Political Science, Washington University, 2004-2006.
Professor (by courtesy), School of Law, Washington University, 2004-2006.
Assistant Professor, Department of Political Science, Washington University, 2000-2004.
Assistant Professor, Department of Political Science, SUNY Stony Brook, 1998-2000.

4   Education

Ph.D., Washington University in St. Louis (1998), Political Science
A.B., The College of William and Mary (1994)
Mathematics and Government (Cum Laude, High Honors)


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5     Research

5.1    Articles

Christina L. Boyd, Lee Epstein, and Andrew D. Martin. 2010. “Untangling the Causal
Effects of Sex on Judging.” American Journal of Political Science, forthcoming
Andrew D. Martin, Kevin M. Quinn, and Jong Hee Park. n.d. “MCMCpack: Markov chain
Monte Carlo in R.” Journal of Statistical Software, forthcoming.
Daniel Pemstein, Kevin M. Quinn, and Andrew D. Martin. n.d. “The Scythe Statistical
Library: An Open Source C++ Library for Statistical Computation.” Journal of Statistical
Software, forthcoming.
Pauline Kim, Margo Schlanger, Christina L. Boyd, and Andrew D. Martin. 2009. “Studying
District Court Decision-Making.” Journal of Law and Policy. 29: 83-112.
Lee Epstein, Andrew D. Martin, Kevin M. Quinn, and Jeffrey A. Segal. 2009. “Circuit
Effects: How the Norm of Federal Judicial Experience Biases the Supreme Court.” University
of Pennsylvania Law Review. 157: 101-146.
Lee Epstein, Andrew D. Martin, Kevin M. Quinn, and Jeffrey A. Segal. 2008. “The Bush
Imprint on the Supreme Court: Why Conservatives Should Continue to Yearn and Liberals
Should Not Fear.” Tulsa Law Review. 43: 651-672.
Lee Epstein, Kevin Quinn, Andrew D. Martin, and Jeffrey A. Segal. 2008. “On the Perils
of Drawing Inferences about Supreme Court Justices from their First Few Years of Service.”
Judicature. 91: 168-179.
Lee Epstein, Andrew D. Martin, Kevin M. Quinn, and Jeffrey A. Segal. 2007. “Ideological
Drift Among Supreme Court Justices: Who, When, and How Important?” Northwestern
University Law Review. 101: 1483-1542.

       [An abbreviated version of this paper appears in 101 Northwestern University
       Law Review Colloquy 127 (2007).]

Lee Epstein, Andrew D. Martin, and Christina L. Boyd. 2007. “On the Effective Communi-
cation of the Results of Empirical Studies, Part II.” Vanderbilt University Law Review. 60:
801-846.
Andrew D. Martin and Kevin M. Quinn. 2007. “Assessing Preference Change on the U.S.
Supreme Court.” Journal of Law, Economics, and Organization. 23: 365-385.
Lee Epstein, Andrew D. Martin, Jeffrey A. Segal, and Chad Westerland. 2007. “The Judicial
Common Space.” Journal of Law, Economics, and Organization. 23: 303-325.
Edith Chen, Andrew D. Martin, and Karen A. Matthews. 2007. “Childhood Socioeconomic
Trajectories and Children’s Health.” Pediatrics. 120: 297-303.
Edith Chen, Andrew D. Martin, and Karen A. Matthews. 2007. “Issues in Exploring

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Variation in Childhood Socioeconomic Gradients By Age: A Response to Case, Paxson, and
Vogl.” Social Science and Medicine. 64: 762-764.
Lee Epstein, Andrew D. Martin, and Matthew M. Schneider. 2006. “On the Effective
Communication of the Results of Empirical Studies, Part I.” Vanderbilt University Law
Review. 59: 1811-1871.
Lisa Baldez, Lee Epstein, and Andrew D. Martin. 2006. “Does the U.S. Constitution Need
an ERA?” Journal of Legal Studies. 35: 243-283.
Andrew D. Martin and Kevin M. Quinn. 2006. “Applied Bayesian Inference in R using
MCMCpack.” R News. 6: 2-7.
Edith Chen, Andrew D. Martin, and Karen A. Matthews. 2006. “Understanding Health
Disparities: The Role of Race and Socioeconomic Status in Children’s Health.” American
Journal of Public Health. 96: 702-708.
Edith Chen, Andrew D. Martin, and Karen A. Matthews. 2006. “Socioeconomic Status and
Health: Understanding Gradients Across Childhood and Adolescence.” Social Science and
Medicine. 62: 2161-2170.
Andrew D. Martin, Kevin M. Quinn, and Lee Epstein. 2005. “The Median Justice on the
U.S. Supreme Court.” North Carolina Law Review. 83: 1275-1321.
Workshop on Empirical Research in the Law. 2005. “On Tournaments for Appointing
Justices to the U.S. Supreme Court.” Southern California Law Review. 78: 157-178.
Andrew D. Martin, Kevin M. Quinn, Pauline T. Kim, and Theodore W. Ruger. 2004.
“Competing Approaches to Predicting Supreme Court Decisionmaking.” Perspectives on
Politics. 2: 761-767.
Theodore W. Ruger, Pauline T. Kim, Andrew D. Martin, and Kevin M. Quinn. 2004. “The
Supreme Court Forecasting Project: Legal and Political Science Approaches to Predicting
Supreme Court Decision-Making.” Columbia Law Review. 104: 1150-1209.
Lee Epstein, Andrew D. Martin, Lisa Baldez, and Tasina Nitzschke. 2004. “Constitutional
Sex Discrimination.” Tennessee Journal of Law and Policy. 1: 11-68.
Lee Epstein and Andrew D. Martin. 2003. “Does Age (Really) Matter?: A Response to
Manning, Carroll, and Carp.” Social Science Quarterly. 85: 19-30.
Lee Epstein, Jack Knight, and Andrew D. Martin. 2003. “The Norm of Prior Judicial
Experience and Its Consequences for the U.S. Supreme Court.” California Law Review. 91:
903-966.
Andrew D. Martin. 2003. “Bayesian Inference for Heterogeneous Event Counts.” Sociologi-
cal Methods and Research. 32: 30-63.
Andrew D. Martin, Gary Miller, and Norman J. Schofield. 2003. “Critical Elections and
Political Realignments in the United States: 1860-2000.” Political Studies. 51: 217-240.
Lee Epstein, Jack Knight, and Andrew D. Martin. 2003. “The Childress Lecture Symposium:


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The Political (Science) Context of Judging.” St. Louis University Law Journal. 47: 783-817.
Kevin M. Quinn and Andrew D. Martin. 2002. “An Integrated Computational Model of
Multiparty Electoral Competition.” Statistical Science. 17: 405-419.
Andrew D. Martin and Kevin M. Quinn. 2002. “Dynamic Ideal Point Estimation via Markov
Chain Monte Carlo for the U.S. Supreme Court, 1953-1999.” Political Analysis. 10:134-153.
Andrew D. Martin. 2001. “Congressional Decision Making and the Separation of Powers.”
American Political Science Review. 95: 361-378.
Lee Epstein, Jack Knight, and Andrew D. Martin. 2001. “Dahl Symposium: The Supreme
Court as a Strategic National Policymaker.” Emory Law Journal. 50: 583-611.
Andrew D. Martin and Christina Wolbrecht. 2000. “Partisanship and Pre-Floor Behavior:
The Equal Rights and School Prayer Amendments.” Political Research Quarterly. 53: 711-
730.
Robert H. Durr, Andrew D. Martin, and Christina Wolbrecht. 2000. “Ideological Divergence
and Public Support for the Supreme Court.” American Journal of Political Science. 44: 768-
776.
Kevin M. Quinn, Andrew D. Martin, and Andrew B. Whitford. 1999. “Voter Choice in
Multi-Party Democracies: A Test of Competing Theories and Models.” American Journal
of Political Science. 43: 1231-1247.
Timothy R. Johnson and Andrew D. Martin. 1998. “The Public’s Conditional Response to
Supreme Court Decisions.” American Political Science Review. 92: 299-310.
Norman J. Schofield, Andrew D. Martin, Kevin M. Quinn, and Andrew B. Whitford. 1998.
“Multiparty Electoral Competition in the Netherlands and Germany: A Model Based on
Multinomial Probit.” Public Choice. 97: 257-293.

      [Reprinted in Melvin Hinich and Michael Munger (eds.). 1999. Empirical Studies
      in Comparative Politics. Dordrecht: Kluwer Academic Publishers].

Andrew D. Martin, Te-min Chang, Rex K. Kincaid, and Yeuhwern Yih. 1998. “Using Tabu
Search to Determine the Number of Kanbans and Lotsizes in a Generic Kanban System.”
Annals of Operations Research. 78: 201-217.
Andrew D. Martin and Kevin M. Quinn. 1996. “Using Computational Methods to Perform
Counterfactual Analyses of Formal Theories.” Rationality and Society. 8: 295-323.
Rex K. Kincaid, Jeffrey A. Hinkley, and Andrew D. Martin. 1995. “Heuristic Search for the
Polymer Straightening Problem.” Computational Polymer Science. 5: 1-5.

5.2   Book Chapters, Notes, and Miscellany

Andrew D. Martin. 2009. “Decision-Making in the Federal Courts: Introduction.” Journal
of Law and Policy. 29: 1-3.

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Epstein, Lee, Christina L. Boyd, and Andrew D. Martin. 2008. “The Court(s) and the
Election.” Miller-McCune. Volume 1, October.
Andrew D. Martin. 2008. “Bayesian Analysis.” In Oxford Handbook of Political Methodology
(Janet M. Box-Steffensmeier, Henry E. Brady, and David Collier, eds.). Oxford: Oxford
University Press.
R. Michael Alvarez, Lonna Rae Atkeson, Delia Bailey, Thad E. Hall, and Andrew D. Martin.
2007. Amicus brief for the United States Supreme Court in Crawford v. Marion County (No.
07-21).
Andrew D. Martin. 2006. “Statutory Battles and Constitutional Wars: Congress and the
Supreme Court.” In Institutional Games and the U.S. Supreme Court (Jon R. Bond, Roy
B. Flemming, and James R. Rogers, eds.). Charlottesville: University of Virginia Press.
Jong Hee Park, Andrew D. Martin, and Kevin M. Quinn. 2005. “CRAN Task View:
Bayesian Inference.” The Comprehensive R Archive Network. http://cran.r-project.org.
Andrew D. Martin, Kevin M. Quinn, and Lee Epstein. 2005. “The ‘Rehnquist’ Court (?).”
Law and Courts. 15: 18-23.
Lee Epstein and Andrew D. Martin. 2005. “Statistical Inference.” In Encyclopedia of Law
and Society (David C. Clark, ed.). Thousand Oaks, CA: Sage.
Lee Epstein and Andrew D. Martin. 2004. “Coding Variables.” In Encyclopedia of Social
Measurement (Kimberly Kempf-Leonard, ed.). New York: Academic Press.
Lee Epstein, Jack Knight, and Andrew D. Martin. 2004. “Constitutional Interpretation
from a Strategic Perspective.” In Making Policy, Making Law: An Inter-Branch Perspective
(Mark C. Miller and Jeb Barnes, eds.). Washington, DC: Georgetown University Press.
Andrew D. Martin and Kevin A. Croker. 2004. “Clustered Computing for Political Science.”
The Political Methodologist. 12: 2-5.
Andrew D. Martin. 2002. “LATEX For the Rest of Us.” The Political Methodologist. 10:
16-18.
Andrew D. Martin and Brian E. Spang. 2001. “A Case Study of Third Party Presidential
Campaign Organizations: Virginians for Perot.” In Ross for Boss: The Perot Phenomena
and Beyond (Ted G. Jelen, ed.). Albany: State University Press of New York.
Andrew D. Martin and Kevin M. Quinn. 1996. “A Review of Discrete Optimization Heuris-
tics.” The Political Methodologist. 7: 6-10.

5.3   External Research Grants

National Science Foundation SES-0921869, SES-0923665, SES-0919149, and SES-0918613.
“Collaborative Research: Backdating the U.S. Supreme Court Judicial Database” (with Lee
Epstein, Nortwestern University, Harold J. Spaeth, Michigan State University, Theodore
Ruger, University of Pennsylvania, Jeffrey A. Segal SUNY Stony Brook, and Keith Whit-
tington, Princeton University). Law and Social Sciences. September 2009-August 2013.


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co-Principal Investigator ($874,227 total).
National Science Foundation SES-0918320. “Doctoral Dissertation Research: Discrete Time-
Series Cross-Section Models of Political Economy” (Doctoral Dissertation Grant for Xun
Pang). Methodology, Measurement, and Statistics. September 2009-August 2010. Principal
Investigator ($7,000).
American Bar Association. “Employment Discrimination Class Action Injunctions: Terms
and Trends” (with Margo Schlanger and Pauline Kim). Litigation Section. December 2008-
June 2009. co-Principal Investigator ($12,000).
National Science Foundation SES-0818751. “Doctoral Dissertation Research: Placing Fed-
eral District Courts in the Judicial Hierarchy” (Doctoral Dissertation Grant for Christina L.
Boyd). Law and Social Sciences. July 2008-June 2009. Principal Investigator ($11,154).
National Science Foundation SES-0751966. “Updating and Backdating the U.S. Supreme
Court Judicial Database” (with Lee Epstein, Northwestern University, and Harold J. Spaeth,
Michigan State University). Law and Social Sciences Program. May 2008-May 2009. co-
Principal Investigator ($120,000 total).
National Science Foundation SES-0751670, SES-0751796, and SES-0751340, and supple-
ments SES-0946908 and SES-0946906. “Collaborative Research: A Cross-National Study
of Judicial Institutionalization and Influence” (with Matthew J. Gabel, Washington Uni-
versity, Gretchen Helmke, University of Rochester, and Clifford J. Carrubba and Jeffrey K.
Staton, Emory University). Law and Social Sciences Program. April 2008-September 2010.
Principal Investigator ($182,522 total).
National Science Foundation SES-0718831. “The Litigation Process in Government-Initiated
Employment Discrimination Suits” (with Pauline Kim and Margo Schlanger, Washington
University). Law and Social Sciences Program. July 2007-June 2009. co-Principal Investi-
gator ($213,999).
MacArthur Foundation. “Dynamic Models of Socioeconomic Status and Child Health” (with
Edith Chen, University of British Columbia). Research Network on Socioeconomic Status
and Health. June 2005-June 2006. Statistician ($28,100).
National Science Foundation SES-0350646 and SES-0350613. “Collaborative Research: A
Computational Environment for Bayesian Inference in the Social Sciences” (with Kevin M.
Quinn, Harvard University). Methodology, Measurement, and Statistics Program. May
2004-May 2007 (with REU Supplement). Principal Investigator ($246,010 total).
National Institutes of Health #1 R03 HD43652-01A1, “Socioeconomic Status and Respira-
tory / Cardiovascular Health” (with Edith Chen, University of British Columbia). Small
Grant Program (Data Analysis), National Heart, Lung, and Blood Institute. July 2003-June
2004. Statistician ($54,000 total).
National Science Foundation SES-0135855 and SES-0136679, “Collaborative Research: The
Dimensions of Supreme Court Decision Making, 1946-2000” (with Kevin M. Quinn, Univer-
sity of Washington). Law and Social Sciences and Methodology, Measurement, and Statistics
Programs. February 2002-January 2003 (with REU and REG Supplements). Principal In-

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vestigator ($94,661 total).

5.4    Internal Research Grants

Weidenbaum Center Small Research Grant, Washington University. “The Effects of Race
and Gender on Judging” (with Lee Epstein). January 2005-January 2006. Co-principal
Investigator ($6,000).
Weidenbaum Center Small Research Grant, Washington University. “Pilot Study: Under-
standing Precedent and the U.S. Supreme Court.” January 2003-August 2004. Principal
Investigator ($7,600).
Weidenbaum Center Small Research Grant, Washington University. “The Dynamics of
Supreme Court Decision Making, 1946-2000.” October 2001-August 2002. Principal In-
vestigator ($9,700).

6     Software

Andrew D. Martin, Kevin M. Quinn, and Jong Hee Park. 2003-present. “Markov chain
Monte Carlo (MCMC) Package.” The Comprehensive R Archive Network. http://cran.r-
project.org. MCMCpack contains functions for Bayesian posterior simulation using Markov
chain Monte Carlo methods for a number of statistical models.
Daniel B. Pemstein, Andrew D. Martin, and Kevin M. Quinn. 2001-present. “Scythe Statis-
tical Library.” http://scythe.wustl.edu. Scythe is a C++ library for statistical computation
that contains matrix manipulation functions, random number generators, and numerical op-
timizers. Scythe can be used with the GNU Compiler Collection (GCC) compilers.

7     Honors and Awards

Special Recognition for Excellence in Mentoring. 2009. Graduate School of Arts & Sciences.
Washington University.
Exemplary Legal Writing Honoree. 2008. Green Bag. For “On The Perils of Drawing
Inferences About Supreme Court Justices from Their First Few Years of Service” published
in Judicature.
Special Recognition for Excellence in Mentoring. 2008. Graduate School of Arts & Sciences.
Washington University.
Pi Sigma Alpha Award (for the best paper delivered at the 2007 meeting of the Midwest
Political Science Association). 2008. For “Untangling the Causal Effects of Sex on Judging”
(with Christina L. Boyd and Lee Epstein).
Special Recognition for Excellence in Mentoring. 2007. Graduate School of Arts & Sciences.
Washington University.
Inclusion in Oxford’s Centenary Celebration Volume (of one hundred seminal journal arti-
cles). 2006. “Dynamic Ideal Point Estimation via Markov Chain Monte Carlo for the US.
Supreme Court, 1953-1999” from Political Analysis (with Kevin M. Quinn).


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Special Recognition for Excellence in Mentoring. 2005. Graduate School of Arts & Sciences.
Washington University.
Harold Gosnell Prize (for the best work of political methodology presented at a political
science conference). 2001. Political Methodology Section of the American Political Science
Association for “Bayesian Learning about Ideal Points of U.S. Supreme Court Justices, 1953-
1999” (with Kevin M. Quinn).
Erdös Number: 3 (Martin to Schofield to Tovey to Erdös)
Program on Human Security Research Scholar. 2000-2002. Center for Basic Research in the
Social Sciences. Harvard University.
Mancur Olson Award (for the best dissertation on political economy). 1999. Political Econ-
omy Section of the American Political Science Association.
“Best Professors on Campus.” 1999. Stony Brook Press.
Post-Doctoral Fellow. 1998-2000. Center in Political Economy. Washington University.
Honorable Mention for Congressional Quarterly Press Award (for best paper on law and
courts by a graduate student). 1996. Judicial Politics Section of the American Political Sci-
ence Association for Timothy R. Johnson and Andrew D. Martin, “The Public’s Conditional
Response to Supreme Court Decisions.”

8     Teaching

8.1    Washington University, Law

Judicial Decision-Making Seminar, Spring 2010.
The Politics of the U.S. Supreme Court. Spring 2008.
Social Scientific Research for Lawyers. Fall 2007, Fall 2008.
Law and Politics Seminar (co-taught with Lee Epstein and Nancy Staudt). Fall 2004, Spring
2006.
Conducting Empirical Legal Scholarship Workshop (co-taught with Lee Epstein). Washing-
ton University School of Law. May 2002, October 2002, May 2004, May 2005. Vanderbilt
University School of Law. May 2005. Northwestern University School of Law and Wash-
ington University School of Law. May 2006, May 2007, June 2008, May 2009, May 2010
(scheduled). The American Association of Law Libraries. July 2008, July 2009.
Economics Institute for Judges (co-taught with Lee Epstein). Judicial Education Program.
Searle Center. Northwestern University School of Law. November 2008, February 2009,
April 2009, October 2009, November 2009, April 2010 (scheduled), May 2010 (scheduled),
September 2010 (scheduled), October 2010 (scheduled).
AGEP Public Policy Institute (co-taught with Lee Epstein). Attorneys General Education
Program. Searle Center. Northwestern University School of Law. June 2009, November
2009, June 2010 (scheduled), October 2010 (scheduled).

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Conducting Empirical Legal Scholarship Workshop: The Advanced Course (co-taught with
Lee Epstein). Northwestern University School of Law and Washington University School of
Law. February 2007, October 2008.

8.2   Washington University, Political Science

Quantitative Political Methodology I. Spring 2001, Spring 2002, Spring 2003. Graduate.
Quantitative Political Methodology II. Fall 2001, Fall 2003. Graduate.
Quantitative Political Methodology III. Fall 2000, Spring 2002, Spring 2003, Spring 2005,
Spring 2006. Graduate.
Bayesian Inference. Fall 2004. Graduate.
Topics in Quantitative Political Methodology: Statistical Modeling. Spring 2009, Spring
2011 (scheduled). Graduate.
Quantitative Political Methodology (Applied Statistics I). Spring 2002, Fall 2002, Fall 2003,
Fall 2004, Fall 2005, Fall 2009. Undergraduate.
U.S. Congress. Spring 2001. Graduate.
Theoretical and Methodological Foundations (co-taught with Randall Calvert). Empirical
Implications of Theoretical Models Summer Institute. Weidenbaum Center. Washington
University. June 2003, June 2004, June 2005, June 2006, June 2007, June 2008, June 2009,
June 2010 (scheduled).
Theoretical and Methodological Foundations (co-taught with Randall Calvert). Empirical
Implications of Theoretical Models Summer Institute. University of Mannheim. June 2009,
June 2010 (scheduled).

8.3   SUNY Stony Brook

American Government, Fall 1999. Undergraduate.
Applied Data Analysis II, Spring 1999, Spring 2000. Graduate.
Graphical Analysis in Political Science, Spring 1999, Fall 1999. Undergraduate.
Legislative Process, Fall 1998. Graduate.

8.4   University College, Washington University

American Policies and Politics (with Brady Baybeck). Fall 1996.

8.5   Dissertation and Thesis Advising

Ph.D. Dissertation Committee Chair for Jong Hee Park (University of Chicago, completed
2007), Christina L. Boyd (University of Buffalo, completed 2009), Tracey George (Vanderbilt
University Law School, in progress), Yael Shomer (in progress), and Xun Pang (in progress).
Ph.D. Dissertation Committee Member for Jason Roberts (University of North Carolina,

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completed 2005), Martin Battle (Murray State University, completed 2006), Scott Hen-
drickson (Creighton University, completed 2006), René Lindstädt (Trinity College, Dublin,
completed 2006), Ryan Vander Wielen (Temple University, completed 2006), Ryan Owens
(Harvard University, completed 2008), Gyung-Ho Jeong (Claremont Graduate University,
completed 2008) Anthony Madonna (University of Georgia, completed 2008), Ryan C. Black
(Michigan State University, completed 2009), Hong Min Park (in progress), and Michael
Malecki (in progress).
Undergraduate Honor’s Thesis Advisor for: Ann Gilpin (2004-2005), Ashley Malnove (2004-
2005), Nicholas Hershman (2003-2004), Kerry Rheinstein (2008-2009), Eve Van Sice (2003-
2004).
Master’s Thesis Committee for Andreas Hertkorn (completed 2004).
Ph.D. Dissertation Committee Member for Jack Buckley (NYU, completed 2003, SUNY
Stony Brook).

8.6    Post-Doctoral Advising

Mark Ramirez (Ph.D., Texas A&M University, Political Science). 2009-2010.
Delia Bailey, YouGov/Polimetrix. (Ph.D., California Institute of Technology, Political Sci-
ence). 2007-2009.
Anton Westveld, Assistant Professor of Statistics, University of Nevada Las Vegas. (Ph.D.,
University of Washington, Statistics). 2007.

9     Professional Activities

9.1    Service

Reviewer. American Journal of Political Science; American Political Science Review ; Amer-
ican Politics Research; Annals of Applied Statistics; British Journal of Political Science;
Business and Politics; Computational Statistics; Electoral Studies; European Union Pol-
itics; Foreign Policy Analysis; Journal of the American Statistical Association; Journal
of Computational and Graphical Statistics; Journal of Empirical Legal Studies; Journal of
Law, Economics, and Organization; Journal of Legal Studies; Journal of Politics; Jour-
nal of Theoretical Politics; Journal of Women, Politics, and Policy; Judicature; Law and
Social Inquiry; Legislative Studies Quarterly; Perspectives on Politics; Political Analysis;
Political Psychology; Political Research Quarterly; Public Opinion Quarterly R News; So-
cial Science Quarterly; Economic and Social Research Council (E-Social Science); National
Science Foundation (Political Science; Law and Social Science; Methodology, Measurement,
and Statistics; Interop); Social Sciences and Humanities Research Council of Canada; Cam-
bridge University Press; Center for Basic Research in the Social Sciences; Chapman & Hall;
Elsevier Science / Academic Press; U.S. Civilian Research and Development Foundation;
Westview Press; Wiley.
Member. Political Methodology Software Award Committee, Society for Political Method-
ology. 2008-present.

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Chair Elect. Law & Social Sciences Section of the American Association of Law Schools.
2008-2009.
Associate Editor (Acting co-Editor August-December 2009). Political Analysis. 2007-2009.
Editorial Board. Quantitative Methods e-journal on SSRN. 2007-present.
Editorial Board. Law and Courts e-journal on SSRN. 2007-present.
Long-Term Planning Committee for the Society for Political Methodology. 2007-2008.
Panelist. 2007. National Science Foundation, Human and Social Dynamics Competition.
Executive committee of the Law & Social Sciences Section of the American Association of
Law Schools. 2006-2008.
Editorial Board. Legislative Studies Quarterly. 2006-2008.
Editorial Board. Political Analysis. 2005-2007.
Webmaster. Political Methodology Section of the American Political Science Association.
2003-present. Supervised design and implementation of: http://polmeth.wustl.edu.
Program Committee. 2005-2006. useR!: The R User Conference 2006. Austrian Association
for Statistical Computing and the R Foundation for Statistical Computing.
Panelist. 2005. National Science Foundation, Human and Social Dynamics Competition,
Exploratory and Research Community Development Panel.
Panelist. 2004. National Science Foundation, Human and Social Dynamics Competition,
Social and Political Change Panel.
Program Committee. 2004 Annual Meeting of the Society for Political Methodology Society.
[H-]POLMETH Editor. 2003-2005. Political Methodology Section of the American Political
Science Association.
Award Committee. Society for Political Methodology Poster Award. 2003. Political Method-
ology Section of the American Political Science Association.
Award Committee. Best Dissertation Award. 2002-2003. Political Economy Section of the
American Political Science Association.
American Political Science Association Annual Meeting. Discussant: 2009, 2008, 2007, 2006,
2005, 2003, 2001, 2000.
Conference on Empirical Legal Studies Annual Meeting. Discussant: 2009, 2007.
Midwest Political Science Association Annual Meeting. Discussant: 2006, 2005, 2004, 2003,
2002, 2001, 2000.
Society for Political Methodology Meeting Annual Meeting. Discussant: 2007, 2006, 2005,
2003, 2002, 2001, 2000.
Scientific Study of Judicial Politics Annual Meeting. Discussant: 1998.


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Law and Society Association Annual Meeting. Discussant: 1999.
Southern Political Science Association Annual Meeting. Discussant: 2000.

9.2    Conference Presentations

American Political Science Association. 2002, 2001, 2000, 1998, 1996.
Midwest Political Science Association. 2009, 2007, 2004, 2003, 2002, 2001, 2000, 1998, 1997,
1996, 1995.
Political Methodology Society. 2004, 2001.
Law and Society Association. 2007, 2005, 2004, 2002, 1997.
American Association of Law Schools. 2007, 2005.
Conference on Empirical Legal Studies. 2007.
UseR!: The R User Conference. 2006, 2004.
Conference on the Scientific Study of Judicial Politics. 1998, 1996.
Southern Political Science Association. 1996, 1995.
Business Applications of Artificial Intelligence Conference, University of Virginia. 1993.

10     University Activities

10.1    Washington University

Vice Chancellor for Research Search Committee. 2009-2010.
Advisory Committee. Center of Administrative Data for Research. Medical School. 2010-
present.
Faculty Advisory Council. 2008-present. Institute of Public Health.

10.2    Washington University, Law

Founding Director. 2006-present. Center for Empirical Research in the Law (CERL).
Member. 2007-2009. Student Life Committee.
Member. 2006-2007. Entry Level Appointments Committee.
Liaison to the Faculty of Arts & Sciences. 2006-present.
Member. 2006-2007. National Council Work Group on Interdisciplinary Studies.
Webmaster. 2004-2006. Workshop on Empirical Research in the Law. Supervised design
and implementation of: http://werl.wustl.edu.




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10.3   Washington University, Arts & Sciences

Outside Reader. 2009. Department of Economics Ph.D. Candidate Yunjong Eo.
Director. 2005-2007. Program in Applied Statistics and Computation.
Chair. 2005-2007. Applied Statistics and Computation Faculty Search Committee.
Member. 2005-2006. Mathematics Department Faculty Search Committee.
Member. 2004-2006. Task Force on Graduate Education. Washington University, Arts and
Sciences.
Outside Reader. 2004. Department of Economics Ph.D. Candidate Jennifer Chen.
Member. 2002-2010. Empirical Implications of Theoretical Models Summer Institute Exec-
utive Committee. Weidenbaum Center.
Member. 2002-2004. Applied Statistics and Computation Executive Committee (Facilities
Committee Chair).
Member. 2002-2003. Applied Statistics and Computation Faculty Search Committee.
Faculty Associate. 2002. Beaumont Dorm, Third Floor.
Faculty Associate. 2001. Rubelman Dorm, First Floor.

10.4   Washington University, Political Science

Department Chair. 2007-present.
Associate Department Chair. 2004-2006.
Co-organizer. Center in Political Economy Speaker Series. 2005-2006.
Director of Graduate Studies. 2003-2005.
Chair. 2004-2005. Ad hoc Internal Review Committee.
Member. 2004-2005. Omnibus Faculty Search Committee.
Member. 2003-2005. Judicial Politics Faculty Search Committee.
Member. 2002-2003. Speaker Series Committee.
Conference Host for Ideal Point Estimation Conference (Weidenbaum Center). September,
2002.
Webmaster. 2001-2002. Supervised design and implementation of: http://polisci.wustl.edu.
Conference Host for Constitutional Quandaries and Critical Elections Conference (Center in
Political Economy). December, 2000.
President. 1996-1997. Free Union of Graduate Students.
Member. 1996-1997. American Politics Faculty Search Committee (Graduate Student Rep-


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resentative).

10.5    SUNY Stony Brook, Political Science

Member. 1998-2000. Undergraduate Curriculum Committee.
Member. 1998-1999. American Politics Faculty Search Committee.

11     Invited Talks

University of Nevada, Las Vegas. Department of Mathematical Sciences and School of Law.
2010 (scheduled).
Texas A&M University, Department of Political Science. 2009.
Indiana University, Maurer School of Law. What’s Law Got To Do With It? Conference.
2009.
University of Akron, School of Law. 2009.
Centro de Investigaciones y Docencia Economicas (CIDE) and Instituto Tecnológico Autónomo
de México (ITAM). Bayesian Methods Conference. 2008.
Dartmouth College, Law and Politics Speaker Series. 2008.
Washington University School of Law, Empirical Research on Decision-Making in the Federal
Courts Conference. 2008.
Seoul National University, Political Science. 2007.
Washington University, Measures of Legislators’ Policy Preferences and the Dimensionality
of Policy Spaces Conference. 2007.
University of Minnesota, Political Economy Colloquium. 2006.
Emory University Department of Political Science and School of Law, Modeling Law Con-
ference. 2006.
Vanderbilt University Law School, Vanderbilt Law Review Symposium on Empirical Schol-
arship. 2006.
University of California, Davis, Department of Political Science. 2005.
University of South Carolina, Department of Political Science. 2005.
Vanderbilt University Law School. 2005.
Northwestern University Law School, Law and Positive Political Theory Conference: Legal
Doctrine and Political Control. 2005.
Vanderbilt University Law School. 2005.
St. Louis University Law School. 2005.
California Institute of Technology, Ulric B. and Evelyn L. Bray Seminar in Political Economy.


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2005.
Cornell University Law School, Journal of Empirical Legal Studies Conference for Young
Empirical Scholars. 2004.
University of North Carolina-Chapel Hill School of Law, Symposium on Locating the Con-
stitutional Center. 2004.
Rice University, Department of Political Science. 2004.
University of Rochester, Department of Political Science. 2004.
Oxford University, Nuffield College. 2004.
Washington University, iTeach Symposium. 2004.
New York University School of Law, Colloquim on Law, Economics, and Politics. 2003.
Stanford University, Conference on Measurement Modeling in Political Science. 2003.
Northwestern University, Department of Political Science. 2002.
University of Illinois, Department of Political Science. 2002.
Washington University, Weidenbaum Center Ideal Point Estimation Conference. 2002.
American Political Science Association, Formal and Empirical Methodological Applications
in the Study of Judicial Politics Short Course. 2002.
Harvard University, Center for Basic Research in the Social Sciences. 2002.
University of Washington, Center for Statistics and the Social Sciences. 2002.
University of Washington, Center for American Politics and Public Policy. 2002.
University of Houston, Department of Political Science. 2002.
Washington University School of Law, Workshop on Empirical Research and the Law. 2002.
Washington University, iTeach Symposium. 2002.
Texas A & M University, Center for Presidential Studies, Policy, and Governance, Institu-
tional Games and the U.S. Supreme Court Conference. 2001.
Michigan State University, Department of Political Science. 2001.
Washington University, Center in Political Economy, Modelling U.S. Politics Conference.
2001.
Washington University, Center in Political Economy, Constitutional Quandaries and Critical
Elections Conference. 2000.
Columbia University, Center for the Social Sciences, American Politics and Society Work-
shop. 1999.




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12   Professional Memberships

American Political Science Association
American Statistical Association
American Association of Law Schools
Midwest Political Science Association
Southern Political Science Association
Pi Sigma Alpha




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